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6                                UNITED STATES DISTRICT COURT
7                                       DISTRICT OF NEVADA
8                                                   ***
9     REDA GINENA, et al.,                            Case No. 2:04-cv-01304-MMD-CWH
10                                    Plaintiffs,                         ORDER
             v.
11                                                            (Motion in Limine – dkt. no. 287)
      ALASKA AIRLINES, INC.,
12                                                            (Request to File a Reply Brief to
                                    Defendant.              Defendant’s Opposition to Motion to
13                                                        Exclude Expert Testimony – dkt. no. 297)
14

15    I.     SUMMARY

16           Before the Court are Plaintiffs’ Motion in Limine for Order Excluding Testimony of

17    Defendant’s Expert Erik Rigler (dkt. no. 287), and Plaintiffs’ Motion for Leave to File a

18    Reply to Defendant’s Opposition to the Motion in Limine (dkt. no. 297). The Court heard

19    oral argument on the matter on January 29, 2013.

20    II.    BACKGROUND

21           Plaintiffs are nine passengers who traveled on an Alaska Airlines flight from

22    Vancouver, BC to Las Vegas, NV on September 29, 2003. Plaintiffs allege that three

23    employees of Defendant Alaska Airlines, a captain and two flight attendants, accused all

24    nine Plaintiffs of criminal interference with an air crew. Defendant’s employees diverted

25    the aircraft to Reno, NV, and ejected Plaintiffs from the flight.

26           Plaintiffs filed their original complaint nearly eight years ago, on September 17,

27    2004. On remand from the Ninth Circuit, Plaintiffs filed a Second Amended Complaint

28    (“SAC”) on March 19, 2012. (Dkt. no. 226.) The SAC contains one cause of action for
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1     violation of the Warsaw Convention, Article 19, and eight defamation causes of action.

2     (Id.)

3             Plaintiffs move to exclude Defendant’s expert Erik Rigler. Defendant plans on

4     calling Mr. Rigler to rebut the testimonies of Plaintiffs’ pilot and flight attendant experts.

5     Defendant informs the Court that it intends to question Mr. Rigler about the

6     reasonableness of Defendant’s reactions to Plaintiffs’ conduct in light of the applicable

7     industry standards and regulations.

8     III.    LEGAL STANDARD

9             A motion in limine is a procedural device to obtain an early and preliminary ruling

10    on the admissibility of evidence. Black’s Law Dictionary defines it as “[a] pretrial request

11    that certain inadmissible evidence not be referred to or offered at trial. Typically, a party

12    makes this motion when it believes that mere mention of the evidence during trial would

13    be highly prejudicial and could not be remedied by an instruction to disregard.” Black’s

14    Law Dictionary 1109 (9th ed. 2009). Although the Federal Rules of Evidence do not

15    explicitly authorize a motion in limine, the Supreme Court has held that trial judges are

16    authorized to rule on motions in limine pursuant to their authority to manage trials. Luce

17    v. United States, 469 U.S. 38, 41 n.4 (1984).

18            A motion in limine is a request for the court’s guidance concerning an evidentiary

19    question. See Wilson v. Williams, 182 F.3d 562, 570 (7th Cir. 1999). Judges have broad

20    discretion when ruling on motions in limine. See Jenkins v. Chrysler Motors Corp., 316

21    F.3d 663, 664 (7th Cir. 2002). However, a motion in limine should not be used to resolve

22    factual disputes or weigh evidence. See C & E Servs., Inc., v. Ashland, Inc., 539 F.

23    Supp. 2d 316, 323 (D.D.C. 2008). To exclude evidence on a motion in limine “the

24    evidence must be inadmissible on all potential grounds.” See, e.g., Ind. Ins. Co. v. Gen.

25    Elec. Co., 326 F. Supp. 2d 844, 846 (N.D. Ohio 2004). “Unless evidence meets this high

26    standard, evidentiary rulings should be deferred until trial so that questions of

27    foundation, relevancy and potential prejudice may be resolved in proper context.”

28    Hawthorne Partners v. AT & T Tech., Inc., 831 F. Supp. 1398, 1400 (N.D. Ill. 1993). This

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1     is because, although rulings on motions in limine may save “time, costs, effort and

2     preparation, a court is almost always better situated during the actual trial to assess the

3     value and utility of evidence.” Wilkins v. Kmart Corp., 487 F. Supp. 2d 1216, 1219 (D.

4     Kan. 2007).

5            In limine rulings are provisional. Such “rulings are not binding on the trial judge

6     [who] may always change his mind during the course of a trial.” Ohler v. United States,

7     529 U.S. 753, 758 n.3 (2000); accord Luce, 469 U.S. at 41 (noting that in limine rulings

8     are always subject to change, especially if the evidence unfolds in an unanticipated

9     manner). “Denial of a motion in limine does not necessarily mean that all evidence

10    contemplated by the motion will be admitted to trial. Denial merely means that without

11    the context of trial, the court is unable to determine whether the evidence in question

12    should be excluded.” Ind. Ins. Co., 326 F. Supp. 2d at 846.

13    IV.    ANALYSIS

14           A.     Requirements of Federal Rule of Evidence 702

15           Fed. R. Evid. 702 permits a “witness who is qualified as an expert by knowledge,

16    skill, experience, training, or education [to] testify in the form of an opinion or otherwise

17    if: (a) the expert’s scientific, technical, or other specialized knowledge will help the trier of

18    fact to understand the evidence or to determine a fact in issue; (b) the testimony is

19    based on sufficient facts or data; (c) the testimony is the product of reliable principles

20    and methods; and (d) the expert has reliably applied the principles and methods to the

21    facts of the case.”

22           “The Supreme Court interpreted Rule 702 and articulated general guidelines for

23    its application in Daubert v. Merrell Dow Pharmaceuticals, Inc., 509 U.S. 579 (1993), and

24    Kumho Tire Co., Ltd. v. Carmichael, 526 U.S. 137 (1999).” Jinro Am. Inc. v. Secure

25    Investments, Inc., 266 F.3d 993, 1004 opinion amended on denial of reh’g sub nom.

26    Jinro Am., Inc. v. Secure Investments, Inc., 272 F.3d 1289 (9th Cir. 2001). “Daubert, the

27    seminal opinion, focused on scientific testimony; Kumho made clear that Daubert’s

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1     principles apply to ‘technical and other specialized knowledge’ as well.” Id. (citing

2     Kumho, 526 U.S. at 141, 147-49).

3            “Rule 702 is applied consistent with the liberal thrust of the Federal Rules and

4     their general approach of relaxing the traditional barriers to opinion testimony.” Jinro,

5     266 F.3d at 1004 (citations omitted).     “An expert witness ─ unlike other witnesses ─ is

6     permitted wide latitude to offer opinions, including those that are not based on firsthand

7     knowledge or observation, so long as the expert’s opinion [has] a reliable basis in the

8     knowledge and experience of his discipline.” Id. (citations and quotation marks omitted).

9                           1.     Rigler's Qualifications

10           Plaintiffs argue that Rigler is not qualified to testify as an expert about (1) airline

11    industry standards applicable to the conduct of captains and crews on commercial

12    international passenger flights, or (2) Defendant’s employees’ compliance with airline

13    industry standards.

14           Plaintiffs claim that Rigler is unqualified to provide expert testimony in this case

15    because he has not worked as a commercial airline pilot on international flights, and

16    because he has never served as a regular crew member on a commercial passenger

17    airline. Rigler is FAA-rated to pilot corporate jets, not passenger airlines.

18           The Court disagrees with Plaintiffs, and determines that Rigler is qualified to

19    testify as an expert in this case. Rigler is an aircraft pilot and flight instructor who was an

20    FBI agent for 23 years. Much of his work with the FBI dealt with aircraft and airport

21    security issues. He was trained by the FBI and five major airlines in a program known as

22    “Operation Switch,” which dealt specifically with certain crimes aboard aircraft. (Dkt. no.

23    294-3 at 4.) Rigler has investigated a number of aircraft incidents involving allegations of

24    passenger misconduct and has provided testimony as an expert in those matters. (Id.)

25    Due to Rigler’s specialized knowledge of aircraft regulations and industry standards, as

26    well as his extensive history investigating airplane disturbance cases, Rigler’s testimony

27    will help the jury to better understand the evidence presented. His expertise reviewing

28    airplane and aircraft disturbances demonstrates that Rigler has specific knowledge about

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1     aircraft safety, and possesses more than “knowledge as to a general field.” Cf. City of

2     Hobbes v. Hartford Fire Ins. Co., 162 F.3d 576, 587 (10th Cir. 1998).1

3            The Court holds that Rigler’s background and experience satisfy the threshold

4     qualification requirements of Rule 702(a). Plaintiffs’ arguments regarding the strength of

5     Rigler’s credentials relate to Rigler’s credibility, and Plaintiffs may, of course, attack his

6     credibility on cross-examination. See Kennedy v. Collegen Corp., 161 F.3d 1226, 1230-

7     31 (9th Cir.1998).

8                          2.     Reliability of Expert’s Testimony
9            Experts must not only be qualified to testify on a specific matter, but their

10    testimony must be reliable. “[W]hile an expert’s overwhelming qualifications may bear

11    on the reliability of his proffered testimony, they are by no means a guarantor of

12    reliability. [O]ur caselaw plainly establishes that one may be considered an expert but

13    still offer unreliable testimony.” United States v. Frazier, 387 F.3d 1244, 1261 (11th Cir.

14    2004) (citation, quotation marks, and ellipses omitted; brackets in original). The advisory

15    committee notes to Fed. R. Evid. 702 further explain that:

16               The trial judge in all cases of proffered expert testimony must find
                 that it is properly grounded, well-reasoned, and not speculative
17               before it can be admitted.        The expert’s testimony must be
                 grounded in an accepted body of learning or experience in the
18               expert’s field, and the expert must explain how the conclusion is so
                 grounded.
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               United States v. Chang, 207 F.3d 1169, 1173 (9th Cir. 2000), cited by Plaintiffs,
22    is inapposite. There, proffered expert Professor Lausier did not testify as to his training
      or experience detecting counterfeit securities, which was at issue in Chang. The expert
23    merely testified that he had practical expertise in international finance, which the district
      court determined did not amount to practical expertise determining whether a particular
24    security was a counterfeit. Id. Here, Rigler received extensive training making him
      qualified to testify about aircraft industry standards and regulations ─ he received
25    training from the National Transportation Safety Board, the FAA, the United States Navy
      and Air Force, the FBI, as well as legal and aeronautic academic institutions. (Dkt. no.
26    294-3 at 4.) Rigler spent 23 years as an FBI agent, during which time much of his work
      dealt with aircraft and airport security issues. Further, he was trained by the FBI and five
27    major airlines in a training program dealing specifically with certain crimes aboard
      aircraft. (Id.) For these reasons, Rigler’s qualifications and experience relating to the
28    particular matters in this case are far superior to Professor Lausier’s in Chang.

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1            Fed. R. Evid. 702 “requires a valid . . . connection to the pertinent inquiry as a

2     precondition to admissibility.” Jinro, 266 F.3d at 1005. “And where such testimony’s

3     factual basis, data, principles, methods, or their application are called sufficiently into

4     question, . . . the trial judge must determine whether the testimony has a reliable basis in

5     the knowledge and experience of [the relevant] discipline.” Id.

6            Plaintiffs assert that the methodology underlying Rigler’s Analysis and

7     Conclusions (“A&C”) number 6 makes no sense.             Plaintiffs present many counter-

8     arguments to points raised by A&C 6. For example, Plaintiffs argue Rigler’s conclusion

9     that diverting the aircraft was more important than conducting further investigation by

10    speaking with the passengers is a nonsensical conclusion, because the aircraft was in

11    cruise mode. This counter-argument, like Plaintiffs’ other counter-arguments raised in

12    their Motion, raise questions about the credibility of Rigler’s testimony. They do not

13    attack the methodology Rigler used in reaching his conclusions. From reviewing the

14    report, it is clear that Rigler considered eye witness testimony regarding the flight (dkt.

15    no. 294-3 at 17), regulations and policies relating to passenger and airplane personnel

16    behavior aboard an aircraft (id. at 9-14), and based his A&C’s on that data, as well as his

17    experience and expertise.        Plaintiffs do not explain how this methodology is

18    substandard. In fact, Rigler’s methodology appears to be akin to the methodology used

19    by Plaintiffs’ own expert, Captain Mark S. Swint, who reviewed and considered evidence

20    from this case, and used that evidence along with his expertise and experience to reach

21    his conclusions. (See dkt. no. 287-4.)

22           Plaintiffs also argue that Rigler’s A&C’s are conclusory, but Plaintiffs fail to point

23    out that Rigler’s report also details his review of the relevant documents in this case,

24    which provided a great deal of information about what occurred on the airplane. In light

25    of these portions of his report, the Court cannot determine that Rigler’s A&C’s are bare

26    conclusions unsupported by data and reasoning. Rigler also explained the foundation

27    for and reasoning behind his opinions during his deposition.

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1            Plaintiffs’ other arguments on this point are similarly unavailing. Rigler’s “factual

2     basis, data, principles, methods, or their application” have not been called seriously into

3     question. See Jinro, 266 F.3d at 1005.

4            B.     Scope of Expert’s Testimony
5            For the foregoing reasons, Mr. Rigler is qualified to testify and his testimony is

6     sufficiently reliable for the purposes of Fed. R. Evid. 702. However, as the Court noted

7     at its January 29, 2013, hearing, some portions of Rigler’s testimony are inadmissible for

8     other reasons. Below, the Court outlines the parameters which will guide the Court in

9     determining the admissibility of Rigler’s testimony at trial.

10                  1.     The Expert May Testify Regarding Industry Standards
11           Rigler may testify about his knowledge and understanding of airline industry

12    standards. At oral argument, Plaintiffs argued that industry standards are not relevant in

13    this case, and that discussing industry standards will merely confuse the jury. The Court

14    disagrees.    Informing the jury about industry standards is relevant because such

15    evidence may negate actual malice. That is, should Defendant successfully raise a

16    qualified privilege defense to Plaintiffs’ defamation causes of action, Plaintiffs will have to

17    prove that Defendant acted with actual malice in defaming Plaintiffs to prevail. Industry

18    standards evidence is relevant to negate the charge of actual malice, because it

19    provides Defendant with evidence that its employees were merely declaring their

20    understanding of industry standards when they made the allegedly defamatory

21    statements about Plaintiffs’ on-board behavior, and were not making statements they

22    knew were false.      Informing the jury about industry standards also is relevant to

23    Defendant demonstrating that its employees did not act with willful misconduct. Should

24    the jury determine that Defendant did not engage in willful misconduct, the Warsaw

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1     Convention’s damages cap of 16,000 Special Drawing Rights (“SDR”) per passenger will

2     apply.2 (See dkt. no. 289, at 22 ¶ 3.)

3            Plaintiffs argue that even if airline industry standards are relevant, Defendant’s

4     other witnesses, expert pilot Ashby and Flight 694 pilot Captain Swanigan, can also

5     testify to industry standards. However, Defendant explained that Mr. Rigler is being

6     presented as a rebuttal witness, rebutting testimony of Plaintiffs’ pilot and flight attendant

7     experts. Swanigan and Ashby will testify primarily about the reasonableness of

8     Defendant’s employees’ decisions in the cockpit rather than in the cabin. (See, e.g., dkt.

9     no. 316 at 3-5.) Rigler’s testimony does address the reasonableness of Swanigan’s

10    actions, but also the actions of other Alaska Airlines employees. (See, e.g., dkt. no. 294-

11    3 at 16, ¶ 7.)

12           For these reasons, the Court determines that Rigler may testify regarding airline

13    industry standards, and that such testimony is relevant and not duplicative based on the

14    information presented to the Court in connection with this Motion. Testimony at trial may

15    cause the Court to revisit the issue of whether his testimony is duplicative.

16                     2.   The Expert May Not Testify Regarding Industry Regulations
17           “Resolving doubtful questions of law is the distinct and exclusive province of the

18    trial judge.” United States v. Weitzenhoff, 35 F.3d 1275, 1287 (9th Cir. 1993) (internal

19    quotation marks omitted); see also United States v. Brodie, 858 F.2d 492, 496-97 (9th

20    Cir. 1988), overruled on other grounds by United States v. Morales, 103 F.3d 1031, 1033

21    (9th Cir. 1997) (en banc). A trial court properly excludes testimony which instructs the

22    jury on legal issues or effectively attempts to instruct the jury how to decide.” Shops at

23    Grand Canyon 14, LLC v. Rack Room Shoes, Inc., 2:09-CV-01234, 2010 WL 4181361,

24    at *3 (D. Nev. Oct. 20, 2010) (citing Nationwide v. Kass Info. Sys., Inc., 523 F.3d 1051,

25    1059 (9th Cir. 2008). “Evidence that merely tells the jury what results to reach is not

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27            SDRs are not currency, but represent a claim to currency held by IMF member
      countries for which they may be exchanged. Factsheet: Special Drawing Rights (SDRs),
28    International Monetary Fund, March 31, 2011.

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1     sufficiently helpful to the trier of fact to make it admissible under Rule 702.” Id. (citing

2     Nationwide, 523 F.3d at 1060). “Moreover, it is clear that offering legal conclusion

3     testimony invades the province of the trial judge.” Id. (citing Nationwide, 523 F.3d at

4     1059). “An expert cannot give[] an opinion as to her legal conclusion, i.e. an opinion on

5     an ultimate issue of law.” Id. (citing Elsayed Mukhtar v. Cal. State Univ., Hayward, 299

6     F.3d 1053 (9th Cir. 2002)).

7            However, there may be “instances in rare, highly complex and technical matters

8     where a trial judge, utilizing limited and controlled mechanisms, and as a matter of trial

9     management, permits some testimony seemingly at variance with the general rule.”

10    Flores v. Arizona, 516 F.3d 1140, 1166 (9th Cir. 2008) rev’d sub nom. Horne v. Flores,

11    557 U.S. 433 (2009) (citing Nieves-Villanueva v. Soto-Rivera, 133 F.3d 92, 101 (1st Cir.

12    1997)). In fact, “[a]fter analyzing the case law, the leading treatise on federal practice

13    concludes that ‘the courts seem more open to the admission of expert legal opinions

14    where the subject is the application of some complex regulatory or legal standard to a

15    specific factual background.’” Adams v. United States, 2009 U.S. Dist. LEXIS 34169, at

16    *16 (D. Idaho Apr. 20, 2009) (citing 29 Wright and Gold, Federal Practice & Procedure, §

17    6264 at p. 220 n. 36 (1997)).

18           Defendant argues that the Court should exercise its discretion and admit Rigler’s

19    testimony about the airline industry regulations under Flores because of the complexity

20    of the regulatory framework at issue. However, it is not clear to the Court that airline

21    industry regulations at issue here are complicated or highly technical. Defendant does

22    not cite to any law demonstrating that the airline industry’s regulations are particularly

23    complex. Rather, the regulations cited by Rigler in his report are relatively simple. They

24    discuss (1) that persons may not assault crewmembers or interfere with crewmembers’

25    duties; (2) that the airline pilot has final responsibility in the operation of an aircraft; (3)

26    that the pilot may deviate from other airline rules during an in-flight emergency; and (4)

27    post-September 11, 2001, aircraft security measures, including prohibiting passengers

28    from loitering at the forward lavatory and gallery, positively identifying those entering the

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1      flight deck, strictly enforcing seatbelt signs, among other measures. (See dkt. no. 294-3

2      at 9-10.) These industry regulations appear to be far less complex than the

3      environmental framework at issue in Adams or the education law and policy in Flores,

4      and the facts to which the framework must be applied here are likewise less

5      complicated. For example, the Adams court allowed expert testimony about the role of

6      the EPA and the Federal Insecticide, Fungicide, and Rodenticide Act in establishing

7      industry standards and regulations for pesticide registration.        2009 U.S. Dist. LEXIS

8      34169, at *16. Rigler, on the other hand, would testify about relatively straightforward

9      regulations, which most airline passengers are aware of due to their experience with air

10     travel or their exposure from the news media. Even those potential jurors not familiar

11     with airline regulations will be able to easily grasp simple concepts such as “the pilot in

12     command of an aircraft is directly responsible for, and is the final authority as to, the

13     operation of that aircraft.” (Dkt. no. 294-3, citing 14 C.F.R. § 91.3.)

14            To the extent that the regulations cited by Rigler help clarify what the flight

15     attendants and Captain believed their duties were when faced with a disturbance aboard

16     the aircraft, the flight attendants and Captain Swanigan are superior witnesses to

17     provide testimony regarding their understanding of such duties. But these witnesses

18     may not testify as to legal conclusions based on the cited regulations. Nor may Rigler.

19     After reviewing Rigler’s A&C’s, it appears as if Rigler uses the cited regulations, in large

20     part, to reach legal conclusions. (See, e.g., dkt. no. 294-3 at 15, A&C 2: “to the extent

21     that these passengers were intimidating the flight crew, these actions could rise to a

22     level of a violation of Title 49 U.S. Code Section 46504 . . . .”.)

23                   3.      Areas where the Expert is Excluded from Testifying
24            For the foregoing reasons, the Court holds that Erik Rigler may present expert

25     testimony in this case. Mr. Rigler may testify about airline industry standards. Mr. Rigler

26     may not testify about matters of law, and is precluded from testifying about federal airline

27     regulations and their applicability to this case. Mr. Rigler is also precluded from testifying

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1      about legal conclusions based on these regulations. To that end, Mr. Rigler is precluded

2      from testifying on the following:

3                           A&C 1, ¶ 1: this is a legal conclusion, and is not admissible.
4                           A&C 1, ¶¶ 3-4: These paragraphs state a regulation (¶ 3) and also
                             draw an impermissible legal conclusion (¶ 4).
5
                            A&C 2, ¶ 1-2: these paragraphs provide impermissible legal
6                            conclusions regarding causation.
7                           A&C 6, ¶ 2-3: these paragraphs contain impermissible legal
                             conclusions regarding Captain Swanigan’s compliance with 14
8                            C.F.R. § 91.3.
9                           A&C 7: this A&C contains a legal conclusion regarding the
                             International Contract of Carriage.
10

11     These A&C’s are found at Dkt. no. 294-3, pages 15-16.

12            Rigler also may not testify regarding any analysis or conclusions based on the

13     FBI’s investigation of Flight 694 occurring after October 1, 2003, in accordance with the

14     Court’s previous Order. (Dkt. no. 305.)

15            The Court notes that the parties made several arguments and cited to several

16     cases not discussed above, including a limited discussion of the applicability of the law

17     of the case doctrine to portions of Rigler’s testimony. The Court has reviewed these

18     arguments and cases and determines that they do not warrant discussion as they do not

19     affect the outcome of the Motion in Limine.

20            Finally, the Court did not review Plaintiffs’ Reply Brief attached to their Request to

21     File a Reply Brief to Defendant’s Opposition to Motion to Exclude Expert Testimony.

22     (Dkt. no. 297.)

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1      V.    CONCLUSION

2            IT IS HEREBY ORDERED that Plaintiffs’ Motion in Limine for Order Excluding

3      Testimony of Defendant’s Expert Erik Rigler (dkt. no. 287) is GRANTED IN PART and

4      DENIED IN PART, as discussed herein.

5            IT IS FURTHER ORDERED THAT Plaintiffs’ Motion for Leave to File a Reply to

6      Defendant’s Opposition to the Motion in Limine (dkt. no. 297) is DENIED.

7
             DATED THIS 1st day of February 2013.
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10                                             MIRANDA M. DU
                                               UNITED STATES DISTRICT JUDGE
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